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                                                                  August 31, 2020
VIA ECF

The Honorable John G. Koetl
United States District Judge for the
Southern District of New York
500 Pearl Street
New York, NY 10006

       Re: PDV USA, Inc. v. Interamerican Consulting Inc., No: 1:20-cv-03699-JGK

Dear Judge Koetl:

        This firm represents Defendant Interamerican Consulting Inc. (“Interamerican”), in the
above-referenced matter. In accordance with Rule I.E. of Your Honor’s Individual Practices, we
submit this letter motion, unopposed and on consent of Plaintiff’s counsel with whom we met and
conferred, to respectfully request that the time to respond to the complaint filed on May 13, 2020
(Dkt. # 1), be extended until September 30, 2020, thirty (30) days from today.
        The complaint was served via the Florida Secretary of State and was effective on July 15,
2020. Assuming arguendo service was proper, Defendant’s time to respond to the complaint was
therefore August 5, 2020. The Florida Secretary of State did not notify Defendant Interamerican
of the service of the Complaint. The Affidavit of Service was filed on August 12, 2020 (Dkt. # 8).
       Interamerican has agreed to waive any service of process defenses pursuant to Rules
12(b)(4) and (5) of the Federal Rules of Civil Procedure. Interamerican respectfully requests the
Court for an order extending the time to file a response to the Complaint to September 30, 2020.
        This is the first request for an extension. The requested adjournment does not affect any
other scheduled dates.


                                                    Respectfully,



                                                    Kathryn Lee Boyd


cc:    All counsel of record (via ECF)



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